226 F.2d 618
    COMMISSIONER OF INTERNAL REVENUEv.Mary MILLER.COMMISSIONER OF INTERNAL REVENUEv.Joe CRISTO.COMMISSIONER OF INTERNAL REVENUEv.Clara CORTESE.
    Nos. 12401-12403.
    United States Court of Appeals Sixth Circuit.
    October 18, 1955.
    
      H. Brian Holland, Daniel A. Taylor, Ellis N. Slack, Herbert Zarky, and Grant W. Wiprud, Washington, D. C., for petitioner.
      Daniel W. Loeser, Cleveland, Ohio, for respondents.
      Before SIMONS, Chief Judge, and ALLEN and MARTIN, Circuit Judges.
      PER CURIAM.
    
    
      1
      In these three cases consolidated for hearing, the Commissioner of Internal Revenue challenges the correctness of the decision of United States Tax Judge Fisher, reviewed and sustained by the Tax Court of the United States, that cash distributions to employees in total liquidation of a certain employees' retirement trust fund, set up by their former employer, paid to them on account of their "separation from the service" within the meaning of section 165 (b) of the Internal Revenue Act of 1939, 26 U.S.C.A. § 165(b), qualified for long-term capital gain treatment under that sub-section;
    
    
      2
      And this court of appeals having duly considered the findings of fact and opinion of the Tax Court, 22 T.C. 293, the brief and appendices filed by both the petitioner and the respondents, and the oral arguments of the attorneys for the contending parties, has reached the conclusion that, upon the basis of the Tax Court's findings and opinion, its decisions should be and are hereby ordered to be affirmed.
    
    